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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

ROBERT WINNINGHAM,                                                                PLAINTIFF
ADC #655327

v.                                 4:19CV00706-JM-JTK

KENDRA ROBERTS, et al.                                                          DEFENDANT

                                        JUDGMENT

      Pursuant to the Order entered in this matter on this date, it is Considered, Ordered, and

Adjudged that this case is DISMISSED.

      IT IS SO ORDERED this 9th day of November, 2020.



                                           _________________________________
                                           JAMES M. MOODY, JR.
                                           UNITED STATES DISTRICT JUDGE




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